        Case 3:18-cv-05131-WHA Document 18 Filed 10/29/18 Page 1 of 4



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   Flagstar Bank, FSB
 9
                                 UNITED STATES DISTRICT COURT
10
                              NORTHERN DISTRICT OF CALIFORNIA
11

12
   LOWELL and GINA SMITH, individually, and     Case No. 3:18-cv-05131-WHA
13 on behalf of others similarly situated,
                                                JOINT STIPULATION TO EXTEND
14                      Plaintiffs,             FLAGSTAR BANK, FSB’S TIME TO
                                                RESPOND TO THE AMENDED
15        vs.                                   COMPLAINT

16 FLAGSTAR BANK, FSB, a federal savings        Complaint Filed: August 22, 2018
   bank, and DOES 1-100, inclusive,             FAC Filed: October 19, 2018
17
                      Defendant.                Honorable Judge William H. Alsup
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       JOINT STIPULATION TO EXTEND FLAGSTAR BANK, FSB’S TIME TO RESPON TO THE AMENDED
                                         COMPLAINT
         Case 3:18-cv-05131-WHA Document 18 Filed 10/29/18 Page 2 of 4



 1         Pursuant to Federal Rule of Civil Procedure 6(b) and Local Rule 6-1, Defendant Flagstar

 2 Bank, FSB (“Flagstar”) and Plaintiffs Lowell and Gina Smith and William Kivett, individually and

 3 on behalf of others similarly situated (“Plaintiffs”), through their respective counsel, hereby stipulate

 4 to an extension of time for Flagstar to respond to Plaintiffs’ First Amended Complaint in light of the

 5 following facts:

 6                                               RECITALS

 7         WHEREAS, Plaintiffs, through their counsel, filed their Complaint in this action on August

 8 22, 2018;

 9         WHEREAS, Flagstar, through its counsel, executed a waiver of the service of summon on

10 August 29, 2018, setting a response deadline for October 29, 2018;

11         WHEREAS, Plaintiffs filed their First Amended Complaint in this action on October 19,

12 2018;

13         WHEREAS, Flagstar’s response to Plaintiffs’ First Amended Complaint is due on or before

14 November 2, 2018;

15         WHEREAS, Flagstar and Plaintiffs stipulate and agree that, for this good cause, Flagstar’s

16 time to respond to Plaintiffs’ First Amended Complaint is extended twenty-eight (28) days, up to and

17 including November 30, 2018.

18         WHEREAS; Flagstar shall file its response to Plaintiffs’ First Amended Complaint on

19 November 30, 2018 and set a hearing for January 7, 2019 or on a later date available with this Court.

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        JOINT STIPULATION TO EXTEND FLAGSTAR BANK, FSB’S TIME TO RESPON TO THE AMENDED
                                          COMPLAINT
         Case 3:18-cv-05131-WHA Document 18 Filed 10/29/18 Page 3 of 4



 1                                           STIPULATION

 2         IT IS HEREBY STIPULATED by and between Flagstar and Plaintiffs hereto, through their

 3 respective counsel, that the deadline for Flagstar to file its response to Plaintiffs’ First Amended

 4 Complaint shall be extended twenty-eight (28) days, up to and including November 30, 2018, and

 5 that Flagstar shall file its response on November 30, 2018 and set a hearing for January 7, 2019 or on

 6 a later date available with this Court.

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 8         IT IS SO STIPULATED.

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10 Date: October 29, 2018                       Respectfully submitted,

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12                                              MCGUIREWOODS LLP

13
                                                By: /s/ David C. Powell
14                                                  David C. Powell
                                                    Attorney for Defendant Flagstar Bank, FSB
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17 Date: October 29, 2018                       LAW OFFICES OF PETER FREDMAN PC

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19                                              By: /s/ Peter B. Fredman
                                                    Peter B. Fredman
20                                                  Attorney for Plaintiffs Lowell and Gina Smith and
                                                    William Kivett, for themselves and persons
21                                                  similarly situated

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        JOINT STIPULATION TO EXTEND FLAGSTAR BANK, FSB’S TIME TO RESPON TO THE AMENDED
                                          COMPLAINT
         Case 3:18-cv-05131-WHA Document 18 Filed 10/29/18 Page 4 of 4



 1                                       ECF CERTIFICATION

 2         In compliance with Civil Local Rule 5-1(i)(3), regarding signatures, I hereby attest that I

 3 have obtained the concurrence in the filing of this document from all signatories.

 4         Executed this 29th day of October, 2018, at San Francisco, California.

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 6 DATED: October 29, 2018                       MCGUIREWOODS LLP

 7                                               By: /s/ David C. Powell
                                                     David C. Powell
 8                                                   Attorney for Defendant Flagstar Bank, FSB
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        JOINT STIPULATION TO EXTEND FLAGSTAR BANK, FSB’S TIME TO RESPON TO THE AMENDED
                                          COMPLAINT
